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  7
      Attorneys for Plaintiff and Counterdefendant
  8   GRUMPY CAT LIMITED
  9

 10                            UNITED STATES DISTRICT COURT

 11         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
 12   GRUMPY CAT LIMITED, an Ohio                    Case No: 8:15-cv-02063-DOC-DFM
      Limited Liability Entity,
 13                                                  PLAINTIFF GRUMPY CAT
                  Plaintiff,                         LIMITED’S NOTICE OF ERRATA
 14                                                  RE:
 15         vs.
                                                     (1) NOTICE OF MOTION FOR
 16   GRENADE BEVERAGE LLC, a                            ATTORNEY’S FEES; AND
      California Limited Liability Company;
 17   PAUL SANDFORD, an individual;                  (2) NOTICE OF MOTION FOR
 18
      NICK SANDFORD, an individual; and                  DISCRETIONARY COSTS
      DOES 1-50,
 19                                                  Date: July 23, 2018
                  Defendants.                        Time: 8:30 A.M.
 20                                                  Crtroom: 9D
 21
      PAUL SANDFORD, an individual;                  Case filed: December 11, 2015
 22   NICK SANDFORD, an individual; and              FPTC:       December 18, 2017
      GRUMPY BEVERAGE, LLC, a Texas                              8:30am
 23   Limited Liability Company,                     Trial date: January 16, 2018
                                                     Judge:      Hon. David O. Carter
 24               Counterclaimants,
 25         vs.

 26   GRUMPY CAT LIMITED, an Ohio
      Limited Liability Entity; and ROES 1-5,
 27
                  Counterdefendants.
 28



         NOTICE OF ERRATA RE NTC OF MOTIONS FOR FEES AND COSTS
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  1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD
  2   HEREIN:
  3         PLEASE TAKE NOTICE that Plaintiff GRUMPY CAT LIMITED’s June
  4   22, 2018 Notice of Motion For Attorneys’ Fees [Dkt. 156] and Notice of Motion For
  5   Discretionary Costs [Dkt. 157] inadvertently omitted the following statement:
  6         “This motion is made following the conference of counsel pursuant to
  7   L.R. 7-3 which took place on June 7, June 8, and June 15, 2018.”
  8
                                            Respectfully submitted,
  9

 10   Dated: July 9, 2018                   LAVELY & SINGER, P.C.
                                            David B. Jonelis
 11                                         Jake A. Camara
 12
                                            By:   /s/ Jake A. Camara
 13
                                                  JAKE A. CAMARA
 14                                         Attorneys for Plaintiff and Counter-Defendant
                                            GRUMPY CAT LIMITED
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         NOTICE OF ERRATA RE NTC OF MOTIONS FOR FEES AND COSTS
